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                 ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

STATE OF UTAH,

             Petitioner,

       v.
                                                      Case No. 23-1157 and
                                                      consolidated cases
U.S. ENVIRONMENTAL PROTECTION
AGENCY, ET AL.,

             Respondents.



     RESPONDENTS’ MOTION TO EXTEND BRIEFING DEADLINE

      Respondents the United States Environmental Protection Agency and

Administrator Lee Zeldin (collectively “EPA”) respectfully move this Court to

extend EPA’s February 24, 2025, briefing deadline by 30 days, to March 26, 2025,

if EPA’s prior-filed abeyance motion is not granted. EPA recently moved this

Court to place these consolidated cases in abeyance for 60 days, ECF 2099213,

which, if granted, would moot this extension request. However, briefing on EPA’s

abeyance motion is ongoing and good cause exists to extend EPA’s briefing

deadline in the event the abeyance is not granted. Counsel for EPA consulted with

counsel for Petitioners, Petitioner-Intervenors, and Respondent-Intervenors and

was informed that:



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           − Industry Petitioners and State Petitioners (excluding Wisconsin) do

              not oppose this Motion;

           − State Respondent-Intervenors oppose a thirty-day extension but do not

              oppose a ten-day extension, with Respondent-Intervenors’ joint brief

              due ten days later. Public Interest Respondent-Intervenors and

              Petitioner-Intervenor Sierra Club, and Wisconsin as Petitioner in Case

              No. 23-1201, take the same position as State Respondent-Intervenors.

              State Respondent-Intervenors, Public Interest Respondent-Intervenors

              and Petitioner-Intervenor Sierra Club, and Wisconsin as Petitioner in

              Case No. 23-1201 all reserve the right to file a response;

           − As of this filing, Petitioner-Intervenor City Utilities of Springfield,

              Missouri, has not responded with its position on this Motion.

      In support of its request, EPA states the following:

      1.      Petitioners in the above-captioned consolidated cases challenge a rule

promulgated by EPA under the Clean Air Act entitled, “Federal ‘Good Neighbor

Plan’ for the 2015 Ozone National Ambient Air Quality Standards,” 88 Fed. Reg.

36654 (June 5, 2023) (“Good Neighbor Plan” or “Rule”).

      2.      The Good Neighbor Plan implements the Clean Air Act’s Good

Neighbor provision, 42 U.S.C. § 7410(a)(2)(D)(i)(I), which ensures that sources in

upwind States whose pollution is affecting air quality in downwind States do their

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fair share to reduce that pollution. As promulgated, the Good Neighbor Plan

covered emissions sources in 23 States. However, following litigation in regional

Circuits over EPA’s predicate Disapproval Action, 1 implementation of the Good

Neighbor Plan was initially stayed as to 12 States and was subsequently stayed as

to all remaining States following the Supreme Court’s decision in Ohio v. EPA,

603 U.S. 279 (2024). See 88 Fed. Reg. 49295 (July 31, 2023); 88 Fed. Reg. 67102

(Sep. 29, 2023); 89 Fed. Reg. 87960 (Nov. 6, 2024).

      3.    Currently, the parties are engaged in supplemental briefing concerning

the limited remand of the administrative record to EPA granted by this Court on

September 12, 2024,2 ECF 2074427 (Remand Order); ECF 2098345 (Order setting

supplemental briefing schedule). Petitioners’ supplemental briefs were filed on

January 31 and February 3, 2025, and EPA’s brief is due on February 24, 2025.

See ECF 2093845.

      4.    A 30-day extension of EPA’s briefing deadline is warranted for

multiple reasons. First, a new administration came into office on January 20, 2025,

followed by the Administrator’s confirmation on January 29, 2025. EPA is in the


1
  Air Plan Disapprovals; Interstate Transport of Air Pollution for the 2015 8-Hour
Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 9336 (Feb. 13, 2023)
(“Disapproval Action”).
2
 For a more detailed procedural history, EPA respectfully refers the Court to the
procedural background outlined in its recent Motion to Hold Consolidated Cases in
Abeyance, ECF 2099213 at 2-3.
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process of briefing new Agency leadership on the underlying Good Neighbor Plan

and these petitions for review. EPA has already moved for an abeyance to allow

new administration officials the time necessary to review the Good Neighbor Plan,

ECF 2099213, but the exigency of the February 24th briefing deadline necessitates

this separate extension request. In the event abeyance is not granted, new Agency

leadership who will review EPA’s supplemental briefing prior to submission need

time to familiarize themselves with this litigation and the Good Neighbor Plan.

Similarly, new administration officials at the U.S. Department of Justice (DOJ)

will also need time to familiarize themselves with this litigation before reviewing

the supplemental briefing.

      5.     The sheer volume of Clean Air Act matters on which new EPA and

DOJ leadership need briefing, which also requires the time and attention of

government counsel and the need for coordination across multitudinous matters,

further supports EPA’s request for a 30-day extension here. As noted above,

leadership positions are still being filled and new leadership need an opportunity to

have discussions about the Good Neighbor Plan, as well as numerous other EPA

actions.

      6.     A 30-day extension, in the event EPA’s abeyance request is not

granted, would allow EPA time to brief new Agency leadership on the substance of




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this supplemental briefing and for new Agency leadership to review the briefing

itself.

          7.   For these reasons, the Court should extend EPA’s February 24, 2025,

briefing deadline by 30 days, to March 26, 2025, if EPA’s abeyance request is not

granted.

                                              Respectfully submitted,

Dated: February 10, 2025

                                              LISA LYNNE RUSSELL
                                                 Deputy Assistant Attorney General

                                              s/ Zoe B. Palenik
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                     CERTIFICATE OF COMPLIANCE

      This document complies with the word limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because, excluding the parts of the document exempted by

Federal Rule of Appellate Procedure 32(f), this document contains 793 words.

This document complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because this document has been prepared in a

proportionally spaced typeface using Microsoft Word in 14-point Times New

Roman font.

      Dated: February 10, 2025

                                            s/ Zoe B. Palenik
                                            ZOE B. PALENIK




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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 10, 2025, I filed the foregoing

Respondents’ Motion to Hold Consolidated Cases in Abeyance with the Court’s

CM/ECF system, which cause a copy of this Motion to be electronically served on

all counsel of record in these consolidated cases.

      Dated: February 10, 2025

                                              s/ Zoe B. Palenik
                                              ZOE B. PALENIK




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